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                    EXHIBIT G
                         Case 1:15-cv-09621-KPF Document 90-7 Filed 07/13/18 Page 2 of 7


                                                   UNITED STATES DISTRICT COURT
                             SOUTHERN                                                District oC                                                   NEW YORK
                                     v.
                  ROYCE CORLEY                                                                     Cn.-;e 'lumber:                        I: l 3CR00048-0 I (RPP)
                                                                                                   USM Number:                            MIOl 1-054
Date ofOriginuJ .Judgment: _4~/2~1-..-11-...c4_ __                       _                                                          \1ark DeMarco                 ES(l.
(Or Dale 11f Lust Amended Judgment)
Reason for Amendment:
    Corr~clior.   ol' Sc111cnce 011 Rcmimo.l ( 18 lJ S C. JN2(f)( I) aml (2))                      []lodificu1iun L'i'Suf'cr11,11m l'1.rno.li1io11; ( 18 l! .S.C ~~ 356.l(.:J or :>.~SJfc))
0   R~Juclion of Scmcucc for CIHillgcd Cir.:101manc~s (Fed . R. Crim.                              (NtoJ1ficaliOll of Ji1tr1.,,cJ '( Cl'll> oJ' h11prisOEmcnl lur l;.~llllOl'Uill~ry :mJ
    i' 35(ll)J                                                                                      Compdling Rcil~"ll> l l :1 l '.'\.(. § 35S2(c.1( l))
0   C'o1wc1io11 of Scnl~ncc by s~mcncmg C'ot11t (~cd R. ( ri111 P. J5(JJ)                          []lodilfcalflH1 ol lllllKJt.C\t l\.•1 rn of lmpri~on111c11l fo1 K. .·Lro;,1clivi_: Aok.;mJmi~lll{~)
X   C'orrcc:io11 of Scnlcnoc l'or Clcricill Mi.;1ukc (Fei:I R. Crim. J'. 36)                        10 1hc Sen1c11~ing tiu11kli11c; ! I~ !!.S.( '.           *   )5~2(~){2))

                                                                                                   [Di feel Molmll W ll"lricl l 'i1m1 Pur~u<ml                   0   2& LS.(· ~ 2155 '"
                                                                                                    o      18   t:.s.c       ~ 3:WJ(,·11 ''
                                                                                                   Glodilku1ic111 ol'l~c··tilu;1<lll Or<lcr ( 18 U.S.<'.~ 3664!

THE DEFENDANT:
  pleaded guilty to
O     pleaded nolo contcndere to count(s)
      which wus accepted by the conrt.
X     wac. found guilty on count(~)               12.3 & 4 .*
                                                 -'-""-=-""....;..;.---~~---~------------------~------
      a He- r a pica of not guilty.
'I be defendant is adjuuiciitcd guilty of these offenses:
Tille & Scl'tion                          Nature ol'OJTcnse                                                                                   Off<•nse Ended.                       Cnunt
Tl8 USC 1591(a) & (b)                     Sex Trailkklng of u Minor                                                                                  1125/2012                     l,2 &      ~l


Tl8   use 2252A(a)(5)(B)                  Possession     or Child Pornography                                                                             1125/2012                       4


       The defend::mt is sentenced as pro,1 idcd in pages _ __ _ 6""---- of this jndgmenl. The scntcnC'c is im11osed puri;mmt to
the Sentencing Reform Act of 1984.
0     The ddendant lms been found not guilty on
      Count(s)                                                          0       is     are dismissed on the motion 01· the United States.
         It is ordered that the defendant must notify the llnitcd States Altorne)· l'or thi~ tfotrlct within 30 days of any change or name,
rcsldenC'e,
or malling address until all fines, restitution, costs, and special assessmt?uts Imposed b,· this jud~ment are Cull\' pi1id. If ordued to pay
restitution, the defendant must notify the court and Unlfed States attorney of makriul changes an economic circumstance!>.
                                                                                                   4121120]4
                                                                                                   Date ol'.l,mposition of Judgment
                                                                                                     ; '..f.'.. ' ) ·.I. I           I
                                                                                                                                          .· l /!
                                                                                                       /   ....~   ~   !   '"f   ·, .    1. ...... l>..   .. -
                                                                                                   Signature of Judge

                                                                                                   Name and Title of Judgl'
                  USDC SDNY                                                                        512/:2014
                                                                                                   Date
                 DOCUMENT
                 ELECTRO:-.;JcALLY FILED
                 DOC#: - - --,-..,_..,_
                 DATE FILED:
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                                           -~'/,/, t./

 :\!) HSC         (Rn. 06i05) Am~ndc-d Judgment ia a Criminal Ca~c
                  Shc~t I A
 AO 245C             Case 1:15-cv-09621-KPF Document 90-7  Filed 07/13/18Paae
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               She<t 2 - lnipmonment                                                                  (NU'rE:    !dcntit'~· Chani:c> witl1   i\>1crtsks (')}

                                                                                                 .Ju<lgme111 -   l'ai:~   _2_ _ GI           -"-6_ __
 DEFENDANT:                  ROYCE CORLEY
CASE NUMBER:                 1: 13C R00048-01 (RP P)

                                                               IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Uureau of Prisons to be imprisoned for a
term of
        Ten }'ears each on Counts 1,2,3 and 4. The time imposed on Counts 2,3 and 4 are to run concurrent with the
tin1e imposeil on Count l.




       The court makes the following recommendations to the Bureau of Prisons:
       ~The defendant is to be housed at a facility in the northeast region as close to New York City as possible.
       -The defendant is to receive job counseling, educational and vocational training.
       -The defendant is to receive cognitive behavioral training.


X      'l'he defendant is remanded to the custody of the United States Marshal.

0      The defendirnt shall surrender to the United States Marshul for this district:
       0       .ut                              0     It.In.       p.m.      on

       D       :is notltled b)' the United S1a1cs Marshal.

D      The defendant shall surrender for service of sentence at the iustilution dcsignakd by the Bureau of' Prison~:

       0       before 2 p.m. on

       D       as notitird by lhe United States Marshal.

       0       as notified by the Probation or Pretrial Services OrBce.


                                                                 RETURN
I hiwe executed this judgment ns follows:




       Defendant delivered on                                                     lo

11 -   -   -   -     - - - -- --        -   -   --   with a certified copy of this judgmmt.




                                                                                              F!';rn:u S'l'.A'ni.S MARSHAL



                                                                     By    --------------------~
                                                                                IWl'l . 'J'~' 1.t-1rn:u S' l'A u:s l'llARSHAL
A024SC            Case 1:15-cv-09621-KPF Document 90-7  Filed 07/13/18 Page 4 of 7
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                                                   63 Filed 05/05/14 Page 3 of 6
               Shecl 3 -·- Supcn"f.ICCI lldcasc                                                               (:-00"1 E: Identify Change." ith -1.~teri)ks (•))


DEFENDANT:
CASE NUlVIBER:
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supcnised release for a
The total period or supervised relense Imposed is ten ye11rs: r.,•e "'ears cuch on Counts 1,2 und J and three ''cars 011 Count 4. The
time imposed on Counts 3 and 4 ure to run concurrent with the lime imposL>d un Count I.                       •


         The delCndant must report to tile probation o1lice in the district to which the ddc11l11mt ls released within 72 hours orrch.~11sl•
from tht> custody of the Bur<.'llU of Prisons.
The defendant shall not commit nnolher fodt•ral, state, or loc11I crime.
The d~fcnda11tshall 11or unl:iwfully posses :i controlkd substanc.e. The defondant shall refrain from any unlawful usL' of a
controlled subsruuce. The dcfrndnnt sh~tll submit to one drug test within 15 dU\'S of rcll•ase rrom imprislmmcnt nnd :u Least two
periodic drug tests therl!llftcr, as detennined b~· the court.                 •
D        Tbc abo,·e drug testing condition is suspended, based on the court's determination that the defendant poses u low rls.k of
         future substance abuse. (Cl1etk, ir applicable.)
X        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Cherk, lf
X        The dl!fe11d1mt shall cooper1He in the collection ol" DNA as directed by the probation officer. (Chl><:k, if a11plicublc.)
D        The defendant shull register with the state sex offender registration agency in thl· st:1ll• wbllre the dere11dant resides, works,
         studeut, as directed by the probation officer. (Check, ir appllcable.)
D        The defendant shall partici11ate in an appt'O\'ed program fur domestic \'iolenct'. (Check, if ap11lic11ble.)
         H this judgment imposes u nne or restitution, it is 11condition1>fsupcrvisL•ll relen)e that the defendant p11'' in nccordance
with the &hednll!' of' Payments sheet of this judgment.                                                               ·
        The defenllaut must comp Iv with the standard conditions th:it have becn udo11kd b,· this court as '"cll ns with anv adllirional
conditions on the attached pll~e. •                                                       •                                ·

                                           STANDARD CONDITIONS OF SUPERVlSlON
    I)    the ddeadant shall not le.aw the .lndicial district without the permission of lhL· rourt or probaliou ol'Jicer;
    2)    the defcnd:mt shall report to the probatil.lu o£ficer and shall submit a truthful and complete written report within the first five
          days of eal'.h mouth;
 3)       the del'endunt shnll 1iuswer truthfully au inquiries by the probation omcer and follow the Instructions of the probation otllcer;
 4)       the defendant shall support bis or her dcpendeuts and meet other family rcs11011sibilitics:
 5)       the defendant shall work rc~ulnrly at 11 l11wful occupation, uuless excused bJ till' probution officer for schooling, training, or
          other acceptable reasons;

 6)       The dcfrndnnt slu1ll notify the probation ofllcer at least ten days prior to any change in residence or cmplovment, or if
          such prior notltication is not possibh.\ then within five days after such change.                            •
    7)    the dcfondant shall refrain from excessive use of alcohol and shall not purchase, possess, nse, distribute, or administer any
          controlled substance or any parapheru11lh1 related to any controlled substances, ex.ccpt as prescribed by a physician;
 8)       the defendant shall not frequent places where controlkd snbstances are illt·gnlly sold, used, distributed, or administered;
 9)       the defendant shall not assocJate with any persons euga~ed in crimin11l aeth'ltv and shall not associate with llny penon
          conYlcted ofa felony, unless granted permission to do so by the probation oflkcr;
JO)       the defendant shall permit aJ1robatlon ofncer lo visit him or her at a1w time at home or elsewhere and shnll permit
          confiscation ot' any contraban observed in plain \•icw or the probation officer;
11)       the defendant shall notify the probation otTicerwithin s<:,•enty-two hon rs ofbein~ ilrrested or questioned by 11 law enrorcenwnf
          ol'ficcr;
I:!       the defe11i3a11tSfUlll 11otentcr inlo ar1y ugrccmtmf to a l llS'llnlnform.er or 11 !IJl~Cial ;1g1.>ntof:i 'inrcnforcc1JTcnt ngc.ncy witllon
          the permission of the court; llnd
U)        as directed bv the probution officer, 1111: ddendant shall notify third partit>s ol' risks that ma)' be occasioned by the del't>ndant's
          criminal record, pcrso1111I history, or churncteristics and sliall permit the probation otnccr to make surh notifications :inll
          confirm the defendnnt's compllancc with such notification requircn1ent.
             CaseCase
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AO 245C    (Re'" 06/0S) Amended Judgment In ~Criminal ('~s~
           Shc~t JC - Supervised Refc11Se                                                    (.'IOTE:   ldcntir~·   Chungcs with Astcrisb (•))
                                                                                           .Jud~rnl•nt-···l'llgc    _ 4 _ ol
DEFENDANT:               ROYCE CORLEY
CASE NUl\'IBER:          1: I 3CR00048-01 (R PP)

                                     SPECIAL CONDITIONS OF SUPERVISION
The following mandatory conditions are imposed:
-The defendant shall not commit another fe<leral, state, or local er[me.
-The dHendunl shall not illegally posses a onlroJJed substance.
-The defendant shall not possess a fireurm or destructh·e device.
-The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one
drug testing within fifteen (15) davs of placement on supervised release and at least two unscheduled drug tests
thcreaJtcr, as directed by the probation offic:e.r.
-The defendant shall cooperate in the collection of ONA as directed by the ptobation officer.
 Th• standard conditions of supervision (l-13) are impo ed along wJth the following special conditions:
 -The defendnnt ·hall submit l11s person, residence, place of business. vehicle, or any other premises under his control
 ton search on the basis that the probatfon officer has reasonable belief thi1t c.ontn1hand or evidence of a yiolatlon of
 the conditions of the release may be found. The se.arch must be conducted at a rcuso1111ble time and in a reasonable
 uuinner. Failure l.o submit to a search may be grounds for revocation. The defendant shall inform an~· other
 residents that the premise~ nrnv he subject to searrh pur·suant to this condition.
                                    a
 -The defendant shall undergo sex- offcnse-specltk evaluation and participate in u sex offender treatment/and or
 mental hll21th tnatment program upproved by the probation omcer. The defendant shall abide bv all rules,
 requirements, and conditions or the sex offender treatment program( ), including submission to p·olygraph testing.
 The defendant s hall wuive his right of coflfidentialil\' i.n anv records for mental heallh assessment and treatment
 imposed as a consequence of this iudgmcnl to allow.the probation ot'tlcer to re\-·iew the defendant's course of
 treilfment aud pro_gress with the freatmcut provider. The defendant will be rct1uired to contribute to the costs or
 service rcnder·ed 1n an amount approved by the probation ofliccr, based on his ahilit~· to pay or availability of
 third-party pavment.
 -The det'cndanl shall not huve deliberate contact with any child under l 7 years of ngc, unless uppro\'ed by the
 r>robation officer. The defendant shalt not loiter within 100 feed of schoolyards, pla)•grounds, arcades, or other
 places primarily used by children under the age of 17.
 -The defendant shall not have ontact with tlte vlctim(s) in this case. This includes any physical, visual. written, or
 telephonic contact with such pers?ns. Additionally, the defendant shall not directly cause or encourage anyone else
 to have such contact with the vichm(s).
 -The defendant is not to use a computer, lnternet-carable device, or si1nililr electronic device to access clllld
 pornogra(l_hy or to communicate with any individua or group for the purpose of promol"ing sexual relations with
 children. The defendant shall consent to the use and/or installation of a comr>u1er program which shall monitor
 susv. •ct .c?mputer use on ~ny e'! rnputer O\yned. o.r .coutrollcd by ~he defemlant. 'Ilic pro_gr,am(s) used wil_I be ~cslgned
 ~o Iden lily, tor the probatwn ollke, only the viewing, do'"'nlondmg, uploading, transm1ttmg, or otherwise using any
 images or rnntent or a sexual nature, as
 denned as Suspect Computer tlsC'. Suspect Computer Use shall be identified by the installed program(s) and/or the
 probation officer through the scre~ning of the defendant's computer usage for certain key words, phrases, and
 images.                                                                                              .
-The defondant is to report lo rhc 1wues1. probation ollice withjn 72 hours of release from custody.
-The defendant is to be supervised bv the cfotricl of residence during the period of supervision.
-Mnndntorv pecial assL>sSment of $400.00 ls imposed and l payable within six 1nonths, by 10/21/14.
-Order of Restitution Is signed amount to be determined. The mand11 tory spcciul usscssmcut is imposed, $100.00.
 1md is pnyabJe bv 10/21/14. Restitution to be imposed shall be paid in monthly installments ofl0% of gross monthly
 income over a period of upervision to commence 30 days after the release from rustody. During incarceration ir the
defendant is en~aged in a BOP non- UNICOR work program, the defendant shall pay $25 per quarter toward the
criminal linanc11"ll renaltics. If the defendant participates in the BOP's UNlCOR proi;ram as 11 grade I through 4,
the defendant sbal pay 50% of his monthly UNTCOR earnings toward the cri(llinnl lmancial penal tie , consistent
with BOP rcgnlallons at 28 C.F.R.
$ 545.11. Restitution impo cd is pursuant lo Tl8 USC§1593 .
.:'fhe defendant shall notify the United States Attorney for this dlstrlct within 30 da)''S of any ehange of maHlng or
residence address that occurs whi le any portion of the restitution remains unpuid.
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AO 24~C    (Rei'. 0"1CJ5) Amrntlct.l .J udjl;m~nt in o Crhninal ('05e
           Sheet 5- Crimh1al Moncrary Pcnaltles                                                                            (r;O'n:: ldcutlly   Ch~11~cs   "trh   Asicrlsk.~   ("))
                                                                                                                .Jndi:m~M-·       Page   -~--"'             __._6_     _      _      _
DEFENDANT:                    ROYCE CORLEY
CASE Nl.JMBER:                1: 13CR00048-01 (RPP)
                                                CRIMINAL MONETARY PENALTIES
    The dcrcndunt must pay !ht' following total criminal monetary penalties undt•r lhl• schl'd11lc of payments on Sht•et 6.
                    Assessment
TOTALS            $ 400.00                                                 $                                           $


D The determination of restitution is deferred _ _ _.                          An Ame11ded Jmlg111e11t i11 a Crimillttl Cir.wt (AO 245(') will be
    entered al'ler sud1 determination.

0   The def'cndant shall m11kc restitution (including cunm1unity restitutiou) to lhe following payet'S in the amount !isled below.

    If the defenclunt makes a partial puYment, each 11ayee shall receh•c an approximat4.'h· 11rol1ortioned pu\·mcnt, unless specified
    otherwise in the prioritv order or percentage (Jllyment column below. Howe\1 er, purs"uimt o 18 U.S.C. § 366-l(i}, nll nonfedcral
    victims must be paid before the United States is paid.

Nnme or Pll\'Ce                                 Total Loss*                               Re.sUtulion Onlcrcd                            Priorih· ur Pl!rce11t11ge
Order of Restitution
amount to be determined.




TOTALS                                                                                $



D    Restitution amount orden•d pursuant to plea

D    The dcl'endant must pay interest on restitutJon and u llnc of more than $2.SOO, unll'SS the restitution or line is paid In full
     fifteenth day ufler the date or the judgment, 1rnrsuant to 18 U.S.C. § 36 I2(t). ,\II of the payment options on Sheet 6 nrny be
     to penalties for delinquency and def':rnlt, pursuant to 18 t:.S.C. § 3612(g).

O    The court determined that the defendant docs not have the ability to pa~· inll'rest,                      i111d   it is ordered that;

     D    lhe intHcst rcquin•me11t h waived                   0     tine       0 restitution.
     D    the iml'rl'sl Fequll'eml!llf tor           0     tl'n         D rllstltnti111ri1rmocliffot.I aH   follows~




* Findings for the t11tul amount of losses are required under Chapters l09A. l l O. 11 CJ,\. und I I 3A of Title 18 for ofk1m·s committed
uu or ufll'r September 13, 1994, but before April 23, 1996.
l\OHSC          Case
              ~Re~.          1:15-cv-09621-KPF Document 90-7
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                                                                               05/05/14                      Page 7 of 7
            Sheet 6 - ~ctiil~ule·otl"aymenY,
                                                                                                       Judgment -    l"Jgc - - - or
OF.FEN DANT:               ROYCE CORLEY
CASE NUMBER:               I :13CR00048-01(RPP)

                                                 SCHEDULE OF PAYMENTS

lfo"ing asses$td the dtfrndnnt's ubillty to pay, payment of the t:otiJI criminal monetary pl'naltics shall be due as follows:

A         Lump sum pa,yment of - - - - - - - due               immediate!~',   balance d11c

          D     not later than - - - - -- - -- - , or
          D in    accordance      D C, D D, D 1<:, or                  D   F beJu,v; or

B    D    Payment to begin immediately (may be combined               D c,        D D, or         0 r: bl·low); or
C    D    Payment in equal                     (e.g., '''eekly, monthly, tJUartcrly) inst111lm('11ls or                 O\'cr a period of
         - - - -- (e.g., months or years), to                                 (e.g., 30 or 60 da~·s) afkr the date of this judgment; or

D    D    Payment in equal                 (e.g.. weekly, month I)', quutcrly) instnllments or                O\'cr 11 period of
                      (e.g., months or years), to                        (e.g., 30 or 60 days) alkr release from imprisonment to u
          term or supervision; or

E    D Payment during the term ol' supervised release will commence                   (e.g., 30 or 60 days) afler release from
          Imprisonment. The court will set the payment plan based on an as~essment of the dcfondant's ability to pay at thal lime;

F    X    Sped11I instructions regarding the payment of criminal monl'lary         pcnnltic~:

          The mandatory speci11l 1LSsessment is impos,·d, $400.00, and is paynble         b~·   J0/21/14. Sc\• terms of payment on Supcndscd
          Rcle;1se Conditions page.




Unless the court has expn•ssly ordered otherwise, if this judgment imposes imprisuunll'nt, payment of criminal rnonetan· penalties
isduedurlng the period ol'imprisonment. All criminal monetary pemilties, except thusc pavmcuts made through the Federal Bureau
of Prisons' Inmate Financial Responsibllity Program, are made to the clerk ul thl' court."

The dcfrnd:rnt shall receh·e cr\•dit for all 1•nyrnents previously made toward any criminal monl•tary penalties imposed.




D    Joint and S1·v"ral

     Defendant and Co-Defendant Nii mes and Case Numbers (including defendant number), Joint and Sever:il Amount, nnd
     corresponding payee, if appropriate.




D    The dcfoudant shall p:ay the cosi or prosecution.

D Till' dt.•fcudant shall 1rny the following court
0    The del"endanl shall forfeit the defendant's interest in the following properly lo the l;nitcd States:



Pa)'m1~ 11ts shall be applied in the following order: (I) assessment, (2) restitution prindpul, (3) n~stitution interest, (4) line
prmcipal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, lncludin~ cost of 1•rosecut!on 1md court costs.
